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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


IN RE: CENTURYLINK SALES                    MDL No. 17-2795 (MJD/KMM)
PRACTICES AND SECURITIES
LITIGATION
                                            THIRD AMENDED NOTICE OF
This Document Relates to:                   HEARING ON PLAINTIFFS’
17-2832, 17-4613, 17-4614, 17-4615,         MOTION FOR PRELIMINARY
17-4616, 17-4617, 17-4618, 17-4619,         APPROVAL OF CLASS ACTION
17-4622, 17-4943, 17-4944, 17-4945,         SETTLEMENT AND PROVISIONAL
17-4947, 17-5001, 17-5046, 18-1573,         CLASS CERTIFICATION
18-1572, 18-1565, 18-1562


      PLEASE TAKE NOTICE that, pursuant to Rule 23(e) of the Federal Rules of

Civil Procedure, Plaintiffs will move on January 22, 2020, at a time to be determined by

the Court, in Courtroom 13E before the Honorable Michael J. Davis, United States

District Judge, United States Courthouse, 300 South Fourth Street, Minneapolis,

Minnesota, for an Order: (1) granting Preliminary Approval of the Settlement; (2)

provisionally certifying the proposed Settlement Class; (3) conditionally appointing the

proposed Class Representatives as the Settlement Class Representatives; (4) conditionally

appointing the proposed Class Counsel as Settlement Class Counsel; (5) approving the

form and manner of notice, (6) ordering that notice be disseminated to the Settlement

Class; (6) establishing the deadlines for Settlement Class Members to request exclusion

from the Settlement Class,     file objections to the Settlement, or file Claims for a

Settlement Award; and (7) setting the proposed schedule for completion of further
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settlement proceedings, including scheduling the final fairness hearing.



Dated: December 6, 2019                     Respectfully submitted,

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